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                                                                           FILED
                       UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF CALIFORNIA                       ArK 22 2014
                                                                            U.::i. iJlSTtltCT COURT
                                                                          N DISTRICT OF CAUFORNIA
                                                                               .' ..
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                                                                                                DEPUTY
                                                                                             ~";;";";.,J


UNITED STATES OF AMERICA,                   CASE NO.

                       Plaintiff,
               vs.                          JUDGMENT OF DISMISSAL
LIDIA OSEGUEDA (03),

                       Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

     an indictment has been filed in another case against the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

__
 X__ the Court has granted the motion of the Government for dismissal; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

-L   of the offense (s) of: 8 USC 1324 (a) (1 (A) (ii) and (v) (1) .


          IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


 DATED: 04/22/14
                                            RUBEN B. BROOKS
                                            UNITED STATES DISTRICT JUDGE



                                            ENTERED ON
